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UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY

 MARCIA HIGHLEY, individually and on behalf of all                    Civil Action No:
 others similarly situated;                                           2:19-cv 12086____________
                                          Plaintiff,
                                                                       CLASS ACTION COMPLAINT

                                                                        DEMAND FOR JURY TRIAL




        -v.-
 RADIUS GLOBAL SOLUTIONS, LLC
 F/K/A NORTHLAND GROUP, LLC,
 CAVALRY SPV 1, LLC,
 JOHN DOES 1-25.

                                       Defendant(s).


Plaintiff Marcia Highley (hereinafter, “Plaintiff”), a New Jersey resident, brings this Class Action

Complaint by and through her attorneys, Stein Saks PLLC, against Defendants Radius Global

Solutions, LLC f//k/a Northland Group, LLC (hereinafter “Defendant Northland”) and Cavalry SPV

1, LLC (hereinafter “Defendant Cavalry”), individually and on behalf of a class of all others

similarly situated, pursuant to Rule 23 of the Federal Rules of Civil Procedure, based upon

information and belief of Plaintiff’s counsel, except for allegations specifically pertaining to

Plaintiff, which are based upon Plaintiff’s personal knowledge.



                      INTRODUCTION/PRELIMINARY STATEMENT

       1.      Congress enacted the Fair Debt Collection Practices Act (hereinafter, “the FDCPA”

   or “Act”) in 1977 in response to the “abundant evidence of the use of abusive, deceptive, and

   unfair debt collection practices by many debt collectors.” 15 U.S.C. §1692(a). At that time,

                                                                                                  1
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 Congress was concerned that “abusive debt collection practices contribute to the number of

 personal bankruptcies, to material instability, to the loss of jobs, and to invasions of individual

 privacy.” Id. Congress concluded that “existing laws…[we]re inadequate to protect consumers,”

 and that “‘the effective collection of debts” does not require “misrepresentation or other abusive

 debt collection practices.” 15 U.S.C. §§ 1692(b) & (c).

    2.      Congress explained that the purpose of the Act was not only to eliminate abusive

 debt collection practices, but also to “insure that those debt collectors who refrain from using

 abusive debt collection practices are not competitively disadvantaged.” Id. § 1692(e). After

 determining that the existing consumer protection laws ·were inadequate ~ Id. § l692(b),

 Congress gave consumers a private cause of action against debt collectors who fail to comply

 with the Act. Id. § 1692k.

                                 JURISDICTION AND VENUE

    3.      The Court has jurisdiction over this class action pursuant to 28 U.S.C. § 1331 and

 15 U.S.C. § 1692 et. seq. The Court has pendent jurisdiction over all State law claims in this

 action pursuant to 28 U.S.C. § 1367(a).

    4.      Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391(b)(2) as this is

 where a substantial part of the events or omissions giving rise to the claim occurred.

                                    NATURE OF THE ACTION

    5.      Plaintiff brings this class action on behalf of a class of New Jersey consumers under§

 1692 et seq. of Title 15 of the United States Code, commonly referred to as the Fair Debt

 Collections Practices Act (“FDCPA”), and

    6.      Plaintiff is seeking damages and declaratory relief.

                                            PARTIES
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    7.      Plaintiff is a resident of the State of New Jersey, County of Essex, residing at 18

 Clifford Street, East Orange, NJ, 07018.

    8.      Radius Global Solutions, LLC f/k/a Northland Group, LLC is a “debt collector” as

 the phrase is defined in 15 U.S.C. § 1692(a)(6) and used in the FDCPA with an address at 50 W

 Skippack Pike, Ambler, PA, 19002.

    9.      Upon information and belief, Defendant Northland is a company that uses the mail,

 telephone, and facsimile and regularly engages in business the principal purpose of which is to

 attempt to collect debts alleged to be due another.

    10.     Cavalry SPV 1, LLC is a “debt collector” as the phrase is defined in 15 U.S.C.

 § 1692(a)(6) and used in the FDCPA with an address at 500 Summit Lake, Valhalla, NY, 10595.

    11.     Upon information and belief, Defendant Cavalry is a company that uses the mail,

 telephone, and facsimile and regularly engages in business the principal purpose of which is to

 attempt to collect debts alleged to be due another.

    12.     John Does l-25, are fictitious names of individuals and businesses alleged for the

 purpose of substituting names of Defendants whose identities will be disclosed in discovery and

 should be made parties to this action.


                                     CLASS ALLEGATIONS
    13.     Plaintiff brings this claim on behalf of the following case, pursuant to Fed. R. Civ.

 P. 23(a) and 23(b)(3).

    14.     The Class consists of:

            a. all individuals with addresses in the State of New Jersey;

            b. to whom Defendant Northland sent an initial collection letter attempting to

                collect a consumer debt on behalf of Defendant Cavalry;
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             c. that deceives the consumer by omitting the complete and accurate requirement

                that a consumer’s dispute of a debt must be in writing, as provided for under

                §1692g (the “G-Notice”);

             d. which letter was sent on or after a date one (1) year prior to the filing of this

                action and on or before a date twenty-one (2l) days after the filing of this action.

    15.      The identities of all class members are readily ascertainable from the records of

 Defendants and those companies and entities on whose behalf they attempt to collect and/or

 have purchased debts.

    16.      Excluded from the Plaintiff Class are the Defendants and all officer, members,

 partners, managers, directors and employees of the Defendants and their respective immediate

 families, and legal counsel for all parties to this action, and all members of their immediate

 families.

    17.      There are questions of law and fact common to the Plaintiff Class, which common

 issues predominate over any issues involving only individual class members. The principal issue

 is whether the Defendants’ written communications to consumers, in the forms attached as

 Exhibit A, violate 15 U.S.C. §§ l692e & 1692g.

    18.      The Plaintiff’s claims are typical of the class members, as all are based upon the same

 facts and legal theories. The Plaintiff will fairly and adequately protect the interests of the

 Plaintiff Class defined in this complaint. The Plaintiff has retained counsel with experience in

 handling consumer lawsuits, complex legal issues, and class actions, and neither the Plaintiff

 nor his attorneys have any interests, which might cause them not to vigorously pursue this action.
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    19.     This action has been brought, and may properly be maintained, as a class action

 pursuant to the provisions of Rule 23 of the Federal Rules of Civil Procedure because there is a

 well-defined community interest in the litigation:

            a. Numerosity: The Plaintiff is informed and believes, and on that basis alleges,

                that the Plaintiff Class defined above is so numerous that joinder of all members

                would be impractical.

            b. Common Questions Predominate: Common questions of law and fact exist as

                to all members of the Plaintiff Class and those questions predominate over any

                questions or issues involving only individual class members. The principal issue

                is whether the Defendants’ written communications to consumers, in the forms

                attached as Exhibit A violate 15 U.S.C. §§ l692e & 1692g.

            c. Typicality: The Plaintiff’s claims are typical of the claims of the class members.

                The Plaintiff and all members of the Plaintiff Class have claims arising out of the

                Defendants’ common uniform course of conduct complained of herein.

            d. Adequacy: The Plaintiff will fairly and adequately protect the interests of the

                class members insofar as Plaintiff has no interests that are adverse to the absent

                class members. The Plaintiff is committed to vigorously litigating this matter.

                Plaintiff has also retained counsel experienced in handling consumer lawsuits,

                complex legal issues, and class actions. Neither the Plaintiff nor his counsel have

                any interests which might cause them not to vigorously pursue the instant class

                action lawsuit.

            e. Superiority: A class action is superior to the other available means for the fair

                and efficient adjudication of this controversy because individual joinder of all
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                 members would be impracticable. Class action treatment will permit a large

                 number of similarly situated persons to prosecute their common claims in a single

                 forum efficiently and without unnecessary duplication of effort and expense that

                 individual actions would engender.

    20.     Certification of a class under Rule 23(b)(3) of the Federal Rules of Civil Procedure

 is also appropriate in that the questions of law and fact common to members of the Plaintiff

 Class predominate over any questions affecting an individual member, and a class action is

 superior to other available methods for the fair and efficient adjudication of the controversy.

    21.     Depending on the outcome of further investigation and discovery, Plaintiff may, at

 the time of class certification motion, seek to certify a class(es) only as to particular issues

 pursuant to Fed. R. Civ. P. 23(c)(4).


                                    FACTUAL ALLEGATIONS

    22.     Plaintiff repeats, reiterates and incorporates the allegations contained in paragraphs

 numbered above herein with the same force and effect as if the same were set forth at length

 herein.

    23.     Some time prior to May 4, 2018, an obligation was allegedly incurred to Exeter

 Finance Corp.

    24.     The Exeter obligation arose out of a transaction where Plaintiff used the Exeter funds

 to finance a car which was used primarily for personal, family or household purposes.

    25.     The alleged Exeter Finance obligation is a "debt" as defined by 15 U.S.C.§ 1692a(5).

    26.     Exeter Finance is a "creditor" as defined by 15 U.S.C.§ 1692a(4).

    27.     Defendant Cavalry, the subsequent owner of the Exeter Finance debt, contracted with

 the Defendant Northland to collect the alleged debt.
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     28.     Defendants collect and attempt to collect debts incurred or alleged to have been

 incurred for personal, family or household purposes on behalf of creditors using the United

 States Postal Services, telephone and internet.


                                Violation – May 4, 2018 Collection Letter

     29.     On or about May 4, 2018, Defendant Northland sent Plaintiff an initial contact notice

 (the “Letter”) regarding the alleged debt owed. A true and accurate copy of the Letter is attached

 as Exhibit A.

     30.     When a debt collector solicits payment from a consumer, it must, within five days

 of an initial communication send the consumer a written notice containing:

     (1) the amount of the debt;

     (2) the name of the creditor to whom the debt is owed;

     (3) a statement that unless the consumer, within thirty days after receipt of the notice,

     disputes the validity of the debt, or any portion thereof, the debt will be assumed to be

     valid by the debt collector;

     (4) a statement that if the consumer notifies the debt collector in writing within the thirty-

     day period that the debt, or any portion thereof, is disputed, the debt collector will obtain

     verification of the debt or a copy of the judgment against the consumer and a copy of such

     verification or judgment will be mailed to the consumer by the debt collector; and

     (5) a statement that, upon the consumer's written request within the thirty-day period, the

     debt collector will provide the consumer with the name and address of the original creditor,

     if different from the current creditor. 15 U.S.C. § 1692g(a).

     31.     The FDCPA further provides that ''if the consumer notifies the debt collector in

 writing within the thirty day period . . . that the debt, or any portion thereof, is disputed . . . the
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 debt collector shall cease collection . . . until the debt collector obtains verification of the

 debt . . . and a copy of such verification is mailed to the consumer by the debt collector.'' 15

 U.S.C. § 1692g(b).

     32.       Specifically, with regard to section 1692g(a)(3), the Third Circuit has made clear that

 “any dispute, to be effective, must be in writing.” Graziano v. Harrison, 950 F.2d 107, 112 (3d

 Cir. 1991).

     33.       Thus, within the Third Circuit, a debt collector’s written disclosure must convey the

 requirement that a consumer must dispute a debt in writing under §1692g(a)(3).

     34.       [I]n order to comply with the requirements of § 1692g, more is required than the mere

 inclusion of the statutory debt validation notice in the debt collection letter—the required notice

 must also be conveyed effectively to the debtor.” Wilson v. Quadramed Corp., 225 F.3d 350, 354

 (3d Cir. 2000), as amended (Sept. 7, 2000) (citations omitted). A debt collector violates the

 FDCPA when a validation notice is “overshadowed” or “contradicted by other portions of the

 communication. Id. at 111; Wilson, 225 F.3d at 354.

     35.       The Letter does not meet the required guidelines of the FDCPA, as interpreted by the

 Third Circuit, because it falsely omits the requirement of the “G Notice” in the first sentence by

 leaving out the requirement that a consumer must dispute in writing.

     36.       In omitting the writing requirement, Defendant falsely communicates the consumer’s

 requirements under the FDCPA.

     37.       Furthermore, the second sentence of the “G Notice” begins: “If” you notify us in

 writing..., implying that the writing requirement is voluntary. When coupled with the failure of

 the first sentence to contain any mention of the word “writing,” the least sophisticated consumer

 would be confused as to what his actual requirements were for properly disputing the debt.
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     38.     Pursuant to section 1692g(a)(3), the Third Circuit has made clear that “any dispute,

  to be effective, must be in writing.” Graziano v. Harrison, 950 F.2d 107, 112 (3d Cir. 1991).

  Thus, a written disclosure that fails to convey the requirement that a consumer must dispute a

  debt in writing falls afoul of the FDCPA’s requirements.

     39.     This false and inaccurate portion of the Letter is misleading because it fails to advise

  Plaintiff of the proper method for exercising his dispute and validation rights under the FDCPA.

     40.     Plaintiff sustained an informational injury as he was not fully apprised of his rights

  and responsibilities necessary to properly exercise his options under §1692g.

     41.     As a result of Defendants false statements, Plaintiff effectively waived his rights to

  this statutorily available information because he was not properly informed of the “G-Notice”

  requirements set forth in the FDCPA, as interpreted in the Third Circuit.

     42.     As a result of Defendants deceptive, misleading and false debt collection practices,

  Plaintiff has been damaged.



                             COUNT I
VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT 15 U.S.C. §1692e
                               et seq.

     43.     Plaintiff repeats, reiterates and incorporates the allegations contained in paragraphs

  above herein with the same force and effect as if the same were set forth at length herein.

     44.     Defendants debt collection efforts attempted and/or directed towards the Plaintiff

  violated various provisions of the FDCPA, including but not limited to 15 U.S.C. § 1692e.

     45.     Pursuant to 15 U.S.C. §1692e, a debt collector may not use any false, deceptive, or

  misleading representation or means in connection with the collection of any debt.

     46.     Defendants violated §1692e:
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             a. As the Letter it is open to more than one reasonable interpretation, at least one of

                 which is inaccurate.

             b. By making a false and misleading representation in violation of §1692e(10).

     47.     By reason thereof, Defendants are liable to Plaintiff for judgment that Defendants

  conduct violated Section 1692e et seq. of the FDCPA, actual damages, statutory damages, costs

  and attorneys’ fees.


                             COUNT II
VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT 15 U.S.C. §1692g
                               et seq.

     48.     Plaintiff repeats, reiterates and incorporates the allegations contained in paragraphs

  above herein with the same force and effect as if the same were set forth at length herein.

     49.     Defendants debt collection efforts attempted and/or directed towards the Plaintiff

  violated various provisions of the FDCPA, including but not limited to 15 U.S.C. § 1692g.

     50.      Pursuant to 15 USC §1692g, a debt collector:


             Within five days after the initial communication with a consumer in connection

             with the collection of any debt, a debt collector shall, unless the following

             information is contained in the initial communication or the consumer has paid

             the debt, send the consumer a written notice containing –


                     1. The amount of the debt;

                     2. The name of the creditor to whom the debt is owed;

                     3. A statement that unless the consumer, within thirty days after

                         receipt of the notice, disputes the validity of the debt, or any
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                           portion thereof, the debt will be assumed to be valid by the debt-

                           collector;

                      4. A statement that the consumer notifies the debt collector in

                           writing within thirty-day period that the debt, or any portion

                           thereof, is disputed, the debt collector will obtain verification of

                           the debt or a copy of a judgment against the consumer and a copy

                           of such verification or judgment will be mailed to the consumer

                           by the debt collector; and

                      5. A statement that, upon the consumer’s written request within the

                           thirty-day period, the debt collector will provide the consumer

                           with the name and address of the original creditor, if different

                           from the current creditor.


      51.     The Defendants violated 15 U.S.C. §1692g, by falsely misstating the consumer’s

  rights by omitting the requirement that he must request validation and make any dispute of the

  debt in writing.

      52.      By reason thereof, Defendants are liable to Plaintiff for judgment that Defendants

  conduct violated Section 1692g et seq. of the FDCPA, actual damages, statutory damages, costs

  and attorneys’ fees.




                                DEMAND FOR TRIAL BY JURY

      53.     Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Plaintiff hereby requests

  a trial by jury on all issues so triable.
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                                      PRAYER FOR RELIEF

WHEREFORE, Plaintiff Marcia Highley, individually and on behalf of all others similarly

situated, demands judgment from Defendants as follows:


       1.      Declaring that this action is properly maintainable as a Class Action and certifying

   Plaintiff as Class representative, and Yaakov Saks, Esq. as Class Counsel;

       2.      Awarding Plaintiff and the Class statutory damages;

       3.      Awarding Plaintiff and the Class actual damages;

       4.      Awarding Plaintiff costs of this Action, including reasonable attorneys’ fees and

   expenses;

       5.      Awarding pre-judgment interest and post-judgment interest; and

       6.      Awarding Plaintiff and the Class such other and further relief as this Court may deem

   just and proper.


Dated: Hackensack, New Jersey
       May 3, 2019

                                                    /s/ Yaakov Saks
                                                    By: Yaakov Saks, Esq.
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